      Case 2:18-cv-00577-MHT-SMD Document 1 Filed 06/12/18 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT FOR THE                                RECEIVED
                                 MIDDLE DISTRICT OF ALABAMA
                                   6iv,' I            DIVISION                                     1018       12 P          11
                                                                                                  DEBRA P. HACKETT. CLK
                                            So ra)                                                  U.S. DISTRICT COURT
                                                                                                   MIDDLE DISTRICT ALA
                                            ra   )
                                            PS04
           Plamti                                )           CIVIL ACTION NO.               : 8 cV- S              Mfr
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                                                 )                       DEMAND(MARK ONE)
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     4..). v4Troy   Mosse_y                 )
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51.,a+c_
           Defendant(s).

                                              COMPLAINT

 1.        Plaintiff(s)' address and telephone number:                            Cl C
                                                                               a#117
                                                                                   ANFAONIMPAliir!• P.


 2.                                       W. Troy
           Name and address ofdefendant(s):                                    11.4.aSseyjas
 5.         v.) re.r‘o_ e.         me h-1-1. fry, /At,                           :3 fle( d
           a le_ A-        7rio nYs, aDallt6Lsiapja                             , Aix-radyivie            "reeler/i
                            Pi) E,36/r7

 3.  Place ofalleged violation of civil rights: X5 1                 5. Lc,,,,}r-e_a
 PAnttn             A L -26                     _

 4.        Date ofalleged violation of civil rights:       1-)4-tk              exc   3  '
                                                                                       -1A ,se_         cat.),S)
 5.        State the facts.on which you base your allegation that your constitutional rights have been
           violated: Ti.‘c. A. v. n+- 7r L. Si-e-e_ 4/,                         q 5.5             n
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 jS     arv           fw        g74+ and n                               ;vs     r    r   t.o4 r 4- ".' Jr\ s
  rta            1'5 611"c4-(oh to deity 4-11;                           writ. .A‘.5.             no.f        •v7•04;0"'•
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     Case 2:18-cv-00577-MHT-SMD Document 1 Filed 06/12/18 Page 2 of 2



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6.      Relief                       P         dote
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Date: 1.K.             1-u.".%.02_   ly




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